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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 2:12-cr-12-09

v.                                                     HON. R. ALLAN EDGAR

ROBIN GINE VOELKER,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 16, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant ROBIN GINE VOELKER entered a plea of guilty to the one count Third

Superseding Felony Information, charging defendant with Conspiracy to Distribute and Possess with

Intent to Distribute Cocaine Base, in violation of 21 U.S.C. §§ 846 and 841(a)(1), in exchange for

the undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to the one count Third

Superseding Felony Information be accepted, that the court adjudicate defendant guilty, and that the
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written plea agreement be considered for acceptance at the time of sentencing. It is further

recommended that the order setting conditions of defendant's release remain in effect pending

sentencing. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement,

determination of defendant's status pending sentencing, and imposition of sentence are specifically

reserved for the district judge.



Date: August 16, 2013                                  /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




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